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 7
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 9
                           UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12
                                              Case No.
13    CARMEN JOHN PERRI, an
                                              Complaint For Damages And
14    individual,                             Injunctive Relief For:
15
                     Plaintiff,               1. VIOLATIONS OF THE
16                                               AMERICANS WITH DISABILITIES
      v.                                         ACT OF 1990, 42 U.S.C. §12181 et
17
                                                 seq.
18
      HOLLY BEAUTY SALON, a
19                                            2. VIOLATIONS OF THE UNRUH
      business form unknown; LAWTON
                                                 CIVIL RIGHTS ACT, CALIFORNIA
20    MANAGEMENT CORPORATION,
                                                 CIVIL CODE § 51 et seq.
      a California Corporation; and Does
21    1-10,
22
23
                     Defendants.

24
25          Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants
26   HOLLY BEAUTY SALON, a business form unknown; LAWTON
27   MANAGEMENT CORPORATION, a California Corporation; and Does 1-10
28   (“Defendants”) and alleges as follows:
                                               1
                                         COMPLAINT
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 1                                          PARTIES:
 2          1.     Plaintiff is an adult California resident. Plaintiff has a Disabled Person
 3
      Parking Placard pending issuance to him by the State of California. Plaintiff is
 4
      substantially limited in performing one or more major life activities, including but
 5
6     not limited to: walking, standing, ambulating, sitting and grasping objects. As a

 7    result of these disabilities, Plaintiff relies upon a wheelchair and other devices for
 8    mobility. With such disabilities, Plaintiff qualifies as a member of a protected class
 9
      under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) and the
10
      regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.
11
12          2.     Plaintiff had a cervical laminectomy (removal of the back side of 4

13    vertebrae in his neck) with instrumentation (brackets, screws and rods to hold his
14    neck together). The surgery caused further injury to his spinal cord. Resultant
15
      permanent damage to his nerves causes weakness and fatigue, pain and loss of
16
      strength in his arms, hands and legs. In addition he has developed permanent nerve
17
18    damage that has caused increased pain and limits his ability to function and in his

19    mobility, especially for any extended period of time. Therefore, plaintiff is
20    substantially limited in performing one or more major life activities, including but
21
      not limited to: walking, standing ambulating, and/or sitting. As a result of his
22
      impairments, he is subject to falls, is unsteady on his feet, cannot walk for any
23

24    significant distance without having to periodically rest and often uses a wheelchair

25    and walker for mobility.
26          3.     Plaintiff brings this action acting as a “private attorney general” as
27
      permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize
28
                                                 2
                                            COMPLAINT
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1     enforcement of the ADA without the American tax payer(s) bearing the financial tax
 2
      burden for such action.
 3
            4.     Plaintiff is informed and believes and thereon alleges that Defendant
 4
      HOLLY BEAUTY SALON, a business form unknown, owned, operated and
 5
      controlled the property located at 143 Chapman Ave., Unit #E, Placentia, CA 92870
 6
      (“Property”) on or around November 11, 2017.
 7
            5.     Plaintiff is informed and believes and thereon alleges that Defendant
 8
      HOLLY BEAUTY SALON, a business form unknown, owns the property currently.
 9
            6.     Plaintiff is informed and believes and thereon alleges that Defendant
10
      LAWTON MANAGEMENT CORPORATION, a California Corporation, owns,
11
      operated and controlled the property located at 143 Chapman Ave., Unit #E,
12
      Placentia, CA 92870 (“Property”) on or around November 11, 2017.
13
            7.     Plaintiff is informed and believes and thereon alleges that Defendant
14
      LAWTON MANAGEMENT CORPORATION, a California Corporation, owns the
15
      Property currently.
16
            8.     Plaintiff does not know the true names of Defendants, their business
17
      capacities, their ownership connection to the subject property and business, or their
18
      relative responsibilities in causing the access violations herein complained of, and
19
      alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
20
      informed and believes that each of the Defendants herein, including Does 1 through
21
      10, inclusive, is responsible in some capacity for the events herein alleged, or is a
22
      necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
23
      when the true names, capacities, connections, and responsibilities of the Defendants
24
      and Does 1 through 10, inclusive, are ascertained.
25
                                 JURISDICTION AND VENUE
26
            9.     This Court has subject matter jurisdiction over this action pursuant
27
      to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
28
                                                 3
                                            COMPLAINT
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 1    with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
 2           10.    This court has supplemental jurisdiction over Plaintiff’s non-federal
 3    claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act
 4    (“UCRA”) claims are so related to Plaintiff’s federal ADA claims in that they have
 5    the same nucleus of operative facts and arising out of the same transactions, they
 6    form part of the same case or controversy under Article III of the United States
 7    Constitution.
 8           11.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 9    real property which is the subject of this action is located in this district and because
10    Plaintiff's causes of action arose in this district.
11                                 FACTUAL ALLEGATIONS
12           12.    Plaintiff went to the Business on or about November 11, 2017 to check
13    the price for a haircut.
14           13.    The Business is a facility open to the public, a place of public
15    accommodation, and a business establishment.
16           14.    Parking spaces are one of the facilities, privileges and advantages
17    reserved by defendants to persons at the property serving the Business.
18           15.    Unfortunately, although parking spaces were one of the facilities
19    reserved for patrons, there were no designated parking spaces available for persons
20    with disabilities that complied with the Americans with Disability Act Accessibility
21    Guidelines (“ADAAG”) on November 11, 2017.
22           16.    Instead of having a compliant designated parking on the property,
23    Defendants have: an access path that has a built up curb ramp extending from a curb
24    parallel to the access aisle causing the disabled access aisle to contain slopes well in
25    excess of 2.1%; and have excessive cross slopes in the disabled access aisle. The
26    excessive slope exacerbates the danger to the Plaintiff of slipping, tipping and
27    falling; the curb ramp projects into the accessible parking space in violation of
28    Section 406.5; obstruction in the access aisle, which creates uneven level to the
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                                              COMPLAINT
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 1    parking space it serves (Section 502.4); and no accessible alternate shortest
 2    accessible route to the store entrance (section 208.3.1; 502; 206.4). In addition, no
 3    curb ramp connecting the accessible parking spaces to accessible pathway, leading
 4    to the entrance (section 406); access aisles with faded paint, failing to serve the
 5    purpose to discourage people to park at the designated handicapped parking area
 6    (section 502.3.3); and an adjacent access aisle with excessive slope.
 7           17.      Therefore, currently, there is no compliant designated disabled parking
 8    serving the Business as well as no accessible water closet for persons with
 9    disabilities.
10           18.      Subject to the reservation of rights to assert further violations of law
11    after a site inspection found infra, Plaintiff asserts there are additional ADA
12    violations which affect him personally.
13           19.      Plaintiff is informed and believes and thereon alleges Defendants had
14   no policy or plan in place to make sure that there was a compliant accessible access
15   pathway reserved for persons with disabilities prior to November of 2017.
16           20.      Plaintiff is informed and believes and thereon alleges Defendants have
17   no policy or plan in place to make sure that the designated disabled parking and
18   accessible pathways for persons with disabilities comport with the ADAAG.
19           21.      The designated disabled parking spaces for use by persons with
20   disabilities are a tip over, crash, fall hazard or trip hazard because it contains a built
21    up curb ramp and cross slopes.
22           22.      Plaintiff personally encountered these barriers because he was in a
23   wheelchair. These inaccessible conditions denied the Plaintiff full and equal access
24    and caused him difficulty, humiliation and frustration because it represented a tip-
25    over hazard, and/or crash and fall hazard.
26           23.      As an individual with a mobility disability who at times is dependent
27    upon a wheelchair or other mobility device, Plaintiff has a keen interest in whether
28    public accommodations have architectural barriers that impede full accessibility to
                                                    5
                                               COMPLAINT
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 1    those accommodations by individuals with mobility impairments.
 2           24.      Plaintiff is being deterred from patronizing the Business and its
 3    accommodations on particular occasions, but intends to return to the Business for the
 4    dual purpose of availing himself of the goods and services offered to the public and
 5    to ensure that the Business ceases evading its responsibilities under federal and state
 6    law.
 7           25.      The defendants have failed to maintain in working and useable
 8    conditions those features required to provide ready access to persons with
 9    disabilities.
10           26.      The violations identified above are easily removed without much
11    difficulty or expense. They are the types of barriers identified by the Department of
12    Justice as presumably readily achievable to remove and, in fact, these barriers are
13    readily achievable to remove. Moreover, there are numerous alternative
14    accommodations that could be made to provide a greater level of access if complete
15    removal were not achievable.
16           27.      Plaintiff is being deterred from patronizing the Business and its
17    accommodations on particular occasions, but intends to return to the Business for the
18    dual purpose of availing herself of the goods and services offered to the public and
19    to ensure that the Business ceases evading their responsibilities under federal and
20    state law.
21           28.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
22    alleges, on information and belief, that there are other violations and barriers in the
23    site that relate to his disability. Plaintiff will amend the complaint, to provide proper
24    notice regarding the scope of this lawsuit, once he conducts a site inspection.
25    However, please be on notice that the Plaintiff seeks to have all barriers related to
26    his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
27    that once a plaintiff encounters one barrier at a site, the plaintiff can sue to have all
28    barriers that relate to his disability removed regardless of whether he personally
                                                   6
                                              COMPLAINT
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 1    encountered them).
 2          29.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 3    alleges, on information and belief, that the failure to remove these barriers was
 4    intentional because: (1) these particular barriers are intuitive and obvious; (2) the
 5    defendants exercised control and dominion over the conditions at this location prior
 6    to November 11, 2017, (3) the lack of accessible facilities was not an accident
 7    because had the defendants intended any other configuration, they had the means
 8    and ability to make the change.
 9          30.    Without injunctive relief, plaintiff will continue to be unable to fully
10    access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
11                                 FIRST CAUSE OF ACTION
12    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
13                                   42 U.S.C. § 12181 et seq.
14          31.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
15    above and each and every other paragraph in this Complaint necessary or helpful to
16    state this cause of action as though fully set forth herein.
17          32.    Under the ADA, it is an act of discrimination to fail to ensure that the
18    privileges, advantages, accommodations, facilities, goods, and services of any place
19    of public accommodation are offered on a full and equal basis by anyone who owns,
20    leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
21    Discrimination is defined, inter alia, as follows:
22                 a.      A failure to make reasonable modifications in policies, practices,
23                         or procedures, when such modifications are necessary to afford
24                         goods, services, facilities, privileges, advantages, or
25                         accommodations to individuals with disabilities, unless the
26                         accommodation would work a fundamental alteration of those
27                         services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
28                 b.      A failure to remove architectural barriers where such removal is
                                                  7
                                             COMPLAINT
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 1                        readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 2                        defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 3                        Appendix "D".
 4                 c.     A failure to make alterations in such a manner that, to the
 5                        maximum extent feasible, the altered portions of the facility are
 6                        readily accessible to and usable by individuals with disabilities,
 7                        including individuals who use wheelchairs, or to ensure that, to
 8                        the maximum extent feasible, the path of travel to the altered area
 9                        and the bathrooms, telephones, and drinking fountains serving
10                        the area, are readily accessible to and usable by individuals with
11                        disabilities. 42 U.S.C. § 12183(a)(2).
12          33.    Any business that provides parking spaces must provide accessible
13   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
14   Standards, parking spaces and access aisles must be level with surface slopes not
15   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
16   Standards, access aisles shall be at the same level as the parking spaces they serve.
17    Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
18    required to be nearly level in all directions to provide a surface for wheelchair
19    transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Here the failure to
20    provide a level access aisle in the designated disabled parking space is a violation of
21   the law and excess slope angle in the access pathway is a violation of the law.
22          34.    A public accommodation must maintain in operable working condition
23   those features of its facilities and equipment that are required to be readily accessible
24   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
25          35.    Here, the failure to ensure that accessible facilities were available and
26   ready to be used by Plaintiff is a violation of law.
27          36.    Given its location and options, Plaintiff will continue to desire to
28   patronize the Business but he has been and will continue to be discriminated against
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                                            COMPLAINT
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 1    due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 2    the barriers.
 3                                SECOND CAUSE OF ACTION
 4        VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 5          37.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 6    above and each and every other paragraph in this Complaint necessary or helpful to
 7    state this cause of action as though fully set forth herein.
 8           38.      California Civil Code § 51 et seq. guarantees equal access for people
 9    with disabilities to the accommodations, advantages, facilities, privileges, and
10    services of all business establishments of any kind whatsoever. Defendants are
11    systematically violating the UCRA, Civil Code § 51 et seq.
12          39.       Because Defendants violate Plaintiff’s rights under the ADA, they also
13   violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).) These
14   violations are ongoing.
15          40.       Plaintiff is informed and believes and thereon alleges that Defendants’
16   actions constitute intentional discrimination against Plaintiff on the basis of a
17   disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendants
18    have been previously put on actual or constructive notice that the Business is
19   inaccessible to Plaintiff. Despite this knowledge, Defendants maintain their
20   premises in an inaccessible form, and Defendants have failed to take actions to
21   correct these barriers.
22                                             PRAYER
23    WHEREFORE, Plaintiff prays that this court award damages provide relief as
24    follows:
25          1.        A preliminary and permanent injunction enjoining Defendants from
26    further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
27    51 et seq. with respect to its operation of the Business and Property; Note: Plaintiff
28    is not invoking section 55 of the California Civil Code and is not seeking
                                                   9
                                              COMPLAINT
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 1     injunctive relief under the Disable Persons Act (Cal. C.C. §54) at all.
 2           2.    An award of actual damages and statutory damages of not less than
 3    $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 4           3.    An additional award of $4,000.00 as deterrence damages for each
 5    violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 6    LEXIS 150740 (USDC Cal, E.D. 2016);
 7           4.    For reasonable attorneys' fees, litigation expenses, and costs of suit,
 8    pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
 9                                 DEMAND FOR JURY TRIAL
10           Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
11     raised in this Complaint.
12
13     Dated: November 28, 2017         MANNING LAW, APC
14

15                                      By: /s/ Joseph R. Manning Jr., Esq.
                                           Joseph R. Manning Jr., Esq.
16                                         Michael J. Manning, Esq.
17                                         Craig G. Côté, Esq.
                                           Attorneys for Plaintiff
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                                             COMPLAINT
